     1:14-cv-01433-MMM-JEH # 61      Page 1 of 19
                                                                                  E-FILED
                                                      Thursday, 23 March, 2017 04:06:32 PM
                                                              Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS
                              PEORIA DIVISION

MICHELLE MORETTO, AMBER
ROBERTSON, ASHLEY M MEHRZAD,
DAWN K. HOSTETLER, MARISSA
HUTTON, LARRY VICARY, REBECCA
MELLOY, RHONDA RANDOLPH,
RICHARD JOHNSTON, STEVE
VANDUSEN, CHARLES TYSON MAY,
ALEISHA KARRICK, TRENT STRUNK,

             Plaintiffs,
                                               Case No. 14 CV 1433
      v.

TAZEWELL COUNTY SHERIFF’S
OFFICE, SHERIFF ROBERT HUSTON, in
his individual capacity, CHIEF DEPUTY
JEFF LOWER, in his individual capacity,
JAIL SUPERINTENDENT KURT ULRICH,
in his individual capacity, JAIL
SUPERINTENDENT EARL HELM, in his
individual capacity, DEPUTY JAIL
SUPERINTENDENT BILL ROTH, in his
individual capacity, TAZEWELL
COUNTY, a unit of local Government,

             Defendants.                       Plaintiffs Demand Trial by Jury

                           SECOND AMENDED COMPLAINT

      Plaintiffs   MICHELLE    MORETTO,       AMBER   ROBERTSON,       ASHLEY     M

MEHRZAD, DAWN K. HOSTETLER, MARISSA HUTTON, LARRY VICARY,

REBECCA MELLOY, RHONDA RANDOLPH, RICHARD JOHNSTON, STEVE

VANDUSEN, CHARLES TYSON MAY, ALEISHA KARRICK, TRENT STRUNK,
                                          1
         1:14-cv-01433-MMM-JEH # 61        Page 2 of 19



complaining against Defendants, TAZEWELL COUNTY SHERIFF’S OFFICE, SHERIFF

ROBERT HUSTON, in his individual capacity, CHIEF DEPUTY JEFF LOWER, in his

individual capacity, JAIL SUPERINTENDENT KURT ULRICH, in his individual

capacity, JAIL SUPERINTENDENT EARL HELM, in his individual capacity, DEPUTY

JAIL SUPERINTENDENT BILL ROTH, in his individual capacity, TAZEWELL

COUNTY, a unit of local Government, state as follows:

         1.    Plaintiffs bring this action to redress acts of retaliation in violation of the

First Amendment pursuant to 42 U.S.C. § 1983 in violation of Plaintiffs’ rights to free

speech, union association, and political association.

         2.    Plaintiff Mehrzad brings a claim for violations of the Illinois Human

Rights Act for sex/pregnancy discrimination pursuant to 775 ILCS 5/2‐102(J).

                              JURISDICTION AND VENUE

         3.    This Court has jurisdiction pursuant to 42 U.S.C. §1983 and 28 U.S.C.

§1343.

         4.    Venue is proper in this judicial district under 28 U.S.C. §1391(b) and (c)

because Plaintiffs and all Defendants either reside in this district or have their principal

place of business in this district, and all events giving rise to Plaintiffs’ claims occurred

within this district.

         5.    This Court also has jurisdiction pursuant to the Illinois Human Rights Act.

On March 2, 2015, Plaintiff Ashley Mehrzad filed a Charge of Discrimination with the


                                              2
      1:14-cv-01433-MMM-JEH # 61          Page 3 of 19



Illinois Department of Human Rights alleging that the Defendant Tazewell County

Sheriff’s Office through Defendant Ulrich discriminated against her on the basis of

sex/pregnancy by failing to reasonably accommodate her pregnancy and requiring her

to take a leave of absence during her pregnancy.

       6.     On December 9, 2016 the Illinois Department of Human Rights issued an

Amended Notice of Substantial Evidence, finding that there was substantial evidence to

support her charge of sex/pregnancy discrimination.

       7.     Plaintiff Mehrzad’s Illinois Human Rights Act claim is made within 90

days of receipt of the IDHR’s Amended Notice of Substantial Evidence, and is therefore

timely filed under the Illinois Human Rights Act, 775 ILCS 5/7A‐102, subparagraphs

(D)(3), (D)(4), and (G)(2).

                                        PARTIES

       8.     Plaintiffs MICHELLE MORETTO, AMBER ROBERTSON, ASHLEY M

MEHRZAD, DAWN K. HOSTETLER, MARISSA HUTTON, LARRY VICARY,

REBECCA MELLOY, RHONDA RANDOLPH, RICHARD JOHNSTON, STEVE

VANDUSEN, CHARLES TYSON MAY, ALEISHA KARRICK, TRENT STRUNK, were

at all relevant times correctional officers with the Tazewell County Sheriff’s Office.

       9.     At all relevant times, each Plaintiff satisfactorily fulfilled his or her

assigned duties.




                                             3
      1:14-cv-01433-MMM-JEH # 61         Page 4 of 19



      10.    Defendant TAZEWELL COUNTY is a municipality incorporated under

the laws of the State of Illinois. Tazewell County administers itself through

departments, one of which is the Tazewell County Sheriff’s Office (“Sheriff’s Office”).

      11.    At all relevant times, Defendant ROBERT HUSTON (“Sheriff Huston”)

served in the elected position of Sheriff of Tazewell County, Illinois. Sheriff Huston is

sued in his individual capacity as Sheriff of Tazewell County.

      12.    Defendant Huston was a policy maker for the Sheriff’s Office and has final

policy making authority for the Sheriff’s Office with regard to his acts and conduct

alleged herein. Defendant Huston at all relevant times acted under color of law.

      13.    Defendant JEFF LOWER is sued in his individual capacity. At all relevant

times, Defendant Lower was Chief Deputy for the Tazewell County Sheriff’s Office

Department and acted under color of law.

      14.    Defendant Lower was appointed by Sheriff Huston and served as Deputy

Chief solely at the discretion and pleasure of the Sheriff. The Sheriff delegated final

policy making authority to Defendant Lower with regard to his acts and conduct

alleged herein.

      15.    Defendant KURT ULRICH is sued in his individual capacity. At all

relevant times, Defendant Ulrich was Jail Superintendent of the Tazewell County

Sheriffʹs Office Corrections Division and acted under color of law.




                                            4
      1:14-cv-01433-MMM-JEH # 61         Page 5 of 19



      16.    Defendant Ulrich was appointed by Sheriff Huston and served in the

position of Jail Superintendent solely at the discretion and pleasure of the Sheriff. The

Sheriff delegated final policy making authority to Defendant Ulrich with regard to his

acts and conduct alleged herein.

      17.    Defendant EARL HELM is sued in his individual capacity. At all relevant

times, Defendant Helm was Jail Superintendent of the Tazewell County Sheriffʹs Office

Corrections Division and acted under color of law.

      18.    Defendant Helm was appointed by Sheriff Huston and served in the

position of Jail Superintendent solely at the discretion and pleasure of the Sheriff. The

Sheriff delegated final policy making authority to Defendant Helm with regard to his

acts and conduct alleged herein.

      19.    Defendant BILL ROTH is sued in his individual capacity. At all relevant

times, Defendant Roth was Deputy Jail Superintendent of the Tazewell County Sheriffʹs

Office Corrections Division and acted under color of law.

      20.    Defendant Roth was appointed by Sheriff Huston and served in the

position of Deputy Jail Superintendent solely at the discretion and pleasure of the

Sheriff. The Sheriff delegated final policy making authority to Defendant Roth with

regard to his acts and conduct alleged herein.




                                            5
      1:14-cv-01433-MMM-JEH # 61           Page 6 of 19



                      FACTS UPON WHICH CLAIMS ARE BASED

       21.    In October 2010, the Union, which consisted mainly of the Plaintiffs, held

a no‐confidence vote against Sheriff Huston.

       22.    The Plaintiffs either voted no‐confidence or supported the no‐confidence

vote of the other Plaintiffs against Sheriff Huston.

       23.    Plaintiffs also supported the Sheriff’s opponent in the campaign for

election and did not support Sheriff Huston.

       24.    Plaintiffs Moretto and VanDusen are on the Union negotiating team and

were considered the “ring leaders” by Defendants. Plaintiff Moretto organized the vote.

       25.    Since the no confidence vote, and on a continuing basis, Defendants have

subjected Plaintiffs to retaliation.

       26.    Since Plaintiffs support of Sheriff Huston’s opponent in the campaign for

election, and on a continuing basis, Defendants have subjected Plaintiffs to retaliation.

       27.    Plaintiffs have continually spoken out against and complained about the

retaliation. Defendants have still refused to remedy Plaintiffs’ complaints.

       28.    Because of Plaintiffs’ association with the union, because of their political

opposition to Sheriff Huston, and because of Plaintiffs’ complaints, Defendants have

retaliated against Plaintiffs, including but not limited to the following acts of retaliation:

              a.      Defendants have denied Plaintiffs’ workers’ compensation claims,

                      light duty requests, and accrued time donations;


                                              6
1:14-cv-01433-MMM-JEH # 61         Page 7 of 19



     b.    Defendants placed a camera in the 2nd floor control area in order to

           monitor union activities;

     c.    Defendants have denied training for Plaintiffs, including, but not

           limited to, taser training, CPR certification, suicide prevention, first

           aid training and use of force training;

     d.    Defendants have refused to appoint Plaintiffs as Field Training

           Officers;

     e.    Defendants separated officers involved in the union and refused to

           let them work together;

     f.    Defendants withheld holiday bonuses from the Plaintiffs, while

           continuing to pay bonuses to other employees;

     g.    Defendants have made employment positions non‐union to

           exclude Plaintiffs, including abolishing the position of sergeant and

           reconstituting it under a different name;

     h.    Defendants did away with the merit commission in order to

           prevent Plaintiffs from being eligible for promotion;

     i.    Defendants filled positions with non‐union personnel without

           posting the position;




                                     7
      1:14-cv-01433-MMM-JEH # 61          Page 8 of 19



             j.     Defendant Huston demoted some Plaintiffs, including Officers

                    VanDusen and Johnston when he made the Sergeant position non‐

                    union;

             k.     Officers Moretto and Hostetler were removed from their

                    Classification positions, which resulted in the loss of a 7.5% pay

                    increase;

             l.     On numerous occasions, including on December 17, 2013,

                    Defendants told Plaintiffs that things will only get better if they

                    apologize for the no‐confidence vote;

             m.     Defendants have called Plaintiffs “problem children,” “trouble

                    makers,” “union radicals” and said that they disgrace the uniform;

             n.     Defendants have cut staffing and changed assignments on the third

                    shift creating officer safety issues;

             o.     Supervisors and command staff told Plaintiffs that they cannot talk

                    about union activities while at work; and

             p.     Defendants have told the State’s Attorney’s office not to file charges

                    against inmates for attacks on Plaintiffs, creating an officer safety

                    issue that impacts the safety of the residents of Tazewell County.

      29.    On December 31, 2012, Sheriff Huston told Officer Mehrzad that due to

the no‐confidence vote he would not hire a correctional officer for any other position,


                                             8
       1:14-cv-01433-MMM-JEH # 61          Page 9 of 19



including probation, jail clerk, or as a deputy. Sheriff Huston stated that the

Correctional Officers in the jail ruined future job opportunities and promotions because

they held a no‐confidence vote against him and helped to campaign against him in the

last election.

       30.       On January 7, 2014, Defendant Ulrich threatened to fire Officer Mehrzad

for associating with Plaintiffs. Defendants have refused to hire any additional

correctional officers since July 2013, but have hired non‐union deputy positions.

       31.       On or about January 23, 2015, Defendant Ulrich, with the knowledge and

consent of Defendant Huston, refused to accommodate Mehrzad’s pregnancy and she

was forced to take leave without pay. The Department has previously accommodated

another pregnant female officer, who was not involved in a lawsuit against the

Department. This officer was accommodated during two pregnancies by allowing her

to continue working and assigning her to a safe position within the jail. The other

officer, who is not a Plaintiff, had the same standard restrictions of no lifting over a

certain weight, and needs to work a safe duty position as Mehrzad. Defendants failed to

accommodate Plaintiff Mehrzad, by:

                 a.    On or about January 20, 2015, Plaintiff Mehrzad provided her

                       employer with a doctor’s note which stated “Ashley is pregnant

                       with a due date of July 17, 2015 and needs to be on safe duty, no

                       lifting over 20 pounds.” These are common effects of pregnancy.


                                             9
1:14-cv-01433-MMM-JEH # 61      Page 10 of 19



      b.   Plaintiff Mehrzad was forced to take leave on January 23, 2015 by

           Defendant Ulrich. Mehrzad was told that there were no reasonable

           accommodations which would meet the requirements of safe duty

           and no lifting over 20 pounds, so she should take “time off to

           recover from [her] restrictions.”

      c.   There are assignments as a correctional officer that would meet the

           requested accommodation or could reasonably meet the requested

           accommodation, including working second floor control on first

           and second shift, second floor control and B‐C pod during third

           shift, Central Control, and Classification. Mehrzad’s doctor cleared

           her to work those positions. Plaintiff Mehrzad would have been

           able to perform all of the functions of these positions. These

           positions would have provided Plaintiff Mehrzad with safer

           working conditions and do not routinely involve lifting.

      d.   Defendants refused to accommodate Plaintiff Mehrzad.

      e.   From January 23, 2015 to September 2, 2015, Plaintiff Mehrzad was

           forced on administrative leave requiring her to use sick leave,

           vacation, personal days, and unpaid leave.




                                  10
      1:14-cv-01433-MMM-JEH # 61         Page 11 of 19



             f.     Defendants refused to discuss any reasonable accommodations

                    with Mehrzad other than to say that there were no reasonable

                    accommodations that would meet her request.

             g.     Defendants did not demonstrate that the accommodation would

                    impose an undue hardship on the ordinary operation of the

                    business of the Tazewell County Sheriff’s Office.

      32.    Defendant Huston stated that he would never promote from the jail for a

Sheriff’s deputy position due to the no‐confidence vote.

      33.    No officers from the jail have been promoted to deputies since the no‐

confidence vote, despite several being on the promotions list.

      34.    Officers were also questioned in their interviews about whether they had

filed any grievances or were involved in the no‐confidence vote.

      35.    In or about July 2014, Defendants changed the policy in order to force

female officers to work overtime, which had a disparate impact on the Plaintiffs.

      36.    In or about February 2015, Plaintiff Robertson was passed over for

promotion despite being most qualified for the position. Sheriff Huston made

comments to her in the promotional interview about the officers suing him in this

lawsuit. The officer promoted over Amber Robertson is not a part of the lawsuit.




                                           11
      1:14-cv-01433-MMM-JEH # 61          Page 12 of 19



         37.   On February 22, 2015, Defendants required Plaintiff Moretto to undergo a

Fitness for Duty test, whereas employees who are not Plaintiffs to this suit are not

required to undergo a Fitness for Duty test.

         38.   Defendants have stated that if officers want to be considered for the Jail

Operation Supervisor (formerly sergeant) position then they need to withdraw from the

union.

         39.   Defendant Roth stated that if Plaintiffs think its bad now, just wait until

after the election.

         40.   Plaintiffs continue to lose overtime, bonus payments, training, promotion

opportunities, and other specialties as a result of Defendants’ conduct.

         41.   In or about July 2015, Defendants began refusing to allow Plaintiffs to

trade days off and use rolling comp time, despite the fact that it had been the practice

for years.

         42.   Plaintiffs spoke out as citizens on matters of public concern including

officer safety issues, violations affecting all employees of the Sheriff’s Office Corrections

Department, and safe operations of the jail.

         43.   Defendants have engaged in a pattern and practice of retaliation against

employees based on their free speech, affiliation with the Union, and political

opposition to Sheriff Huston.




                                             12
      1:14-cv-01433-MMM-JEH # 61        Page 13 of 19



       44.    Defendants and Defendants’ command staff and supervisors had

knowledge of the complained of conduct and refused or failed to take action to

terminate or correct such conduct, although they had the power and authority to do so.

       45.    All Defendants have acted under color of state law at all material times

hereto.

       46.    The actions of the Defendants were intentional, willful, and malicious

and/or in reckless disregard of Plaintiffs’ rights as secured by 42 U.S.C. § 1983 and the

Civil Rights Act of 1991.

       47.    The acts of Defendants have caused Plaintiffs great mental anguish,

humiliation, degradation, physical and emotional pain and suffering, inconvenience,

lost wages and benefits, future pecuniary losses, and other consequential damages.

                                       CLAIMS

       48.    Claim I: 42 U.S.C. § 1983 Retaliation Based on Union Association against

all Defendants. Defendants unlawfully retaliated against Plaintiffs for the exercise of

their rights under the First Amendment. The First Amendment protects a wide

spectrum of free speech and association, including a public employeeʹs right to speak

freely, to advocate ideas, to associate with others, and to petition his government for

redress of grievances. By associating with the union and exercising their rights to

oppose the Sheriff, and by associating with others involved in the union, Plaintiffs were

engaged in the exercise of their rights under the First Amendment. Defendants


                                           13
      1:14-cv-01433-MMM-JEH # 61          Page 14 of 19



intentionally subjected Plaintiffs to unequal and retaliatory treatment by retaliating

against Plaintiffs as set forth above. The actions of Defendants against Plaintiffs violated

their rights guaranteed under the First Amendment to the United States Constitution

and 42 U.S.C. § 1983.

       49.    Claim II: 42 U.S.C. § 1983 Retaliation Based on Free Speech against all

Defendants. Defendants unlawfully retaliated against Plaintiffs for the exercise of their

rights under the First Amendment. The First Amendment protects a wide spectrum of

free speech and association, including a public employeeʹs right to speak freely, to

advocate ideas, to associate with others, and to petition his government for redress of

grievances. By speaking out against the Sheriff and his acts of retaliation, which affected

the Corrections Department as a whole and the public because of concerns of officer

safety, and by filing grievances, Plaintiffs were engaged in the exercise of their rights

under the First Amendment. Defendants intentionally subjected Plaintiffs to unequal

and retaliatory treatment by retaliating against Plaintiffs as set forth above. The actions

of Defendants against Plaintiffs violated their rights guaranteed under the First

Amendment to the United States Constitution and 42 U.S.C. § 1983.

       50.    Claim III: 42 U.S.C. § 1983 Retaliation Based on Political Association

against all Defendants. The First Amendment protects a wide spectrum of free speech

and association, including a public employeeʹs right to free association and to support

or not support a political candidate of their own choosing. By not supporting Sheriff


                                            14
      1:14-cv-01433-MMM-JEH # 61           Page 15 of 19



Huston, and by being associated with and associating with others involved in the

campaign of the Sheriff’s political opponent, Plaintiffs were engaged in the exercise of

their rights under the First Amendment.

          51.   Defendants’ actions reflect a policy, custom, or pattern of official conduct

of engaging in and condoning retaliation against individuals based in violation of the

First Amendment.

      52.       The actions of the Defendants against Plaintiffs violated their rights

guaranteed under the First Amendment to the United States Constitution and 42 U.S.C.

§ 1983.

       53.      Plaintiffs hereby demand trial by jury.

          WHEREFORE, Plaintiffs seeks the following relief:

          a.    All wages and benefits Plaintiffs would have received but for the
                retaliation, including but not limited to back pay, front pay, future
                pecuniary losses, and pre‐judgment interest;

          b.    Compensatory damages in an amount to be determined at trial;

          c.    A permanent injunction enjoining the Defendants from engaging in the
                retaliatory practices complained of herein;

       d.       A permanent injunction requiring that the Defendants adopt employment
                practices and policies in accord and conformity with the requirements of
                the Civil Rights Act of 1871, 42 U.S.C. § 1983, and further requiring that
                Defendants adopt and initiate effective remedial actions to ensure equal
                treatment and non‐retaliation of employees;

          e.    A declaratory judgment that Defendants’ actions violate the First
                Amendment to the United States Constitution;


                                              15
      1:14-cv-01433-MMM-JEH # 61           Page 16 of 19



       f.       The Court retain jurisdiction of this case until such time as it is assured
                that the Defendants have remedied the policies and practices complained
                of herein and are determined to be in full compliance with the law;

       g.       Punitive damages as allowed by law as against the individual Defendants
                only;

       h.       An award of reasonable attorneys’ fees, costs, and litigation expenses; and

       i.       Such other relief as the Court may deem just or equitable.

                          SUPPLEMENTAL STATE LAW CLAIM

       54.      As against TAZEWELL COUNTY SHERIFF’S OFFICE, Plaintiff Mehrzad

restates and realleges by reference paragraph 1 through 53 above as though fully set

forth herein.

       55.      At all times relevant herein, the State of Illinois had in place a certain

statute, the Illinois Human Rights Act, 775 ILCS 5 et seq., which provides in relevant

part that: “It is a civil rights violation . . . for an employer to not make reasonable

accommodations for any medical or common condition of a job applicant or employee

related to pregnancy or childbirth, unless the employer can demonstrate that the

accommodation would impose an undue hardship on the ordinary operation of the

business of the employer.”

       56.      Throughout Plaintiff Mehrzad’s employment with the Tazewell County

Sheriff’s Office, the Office was an “employer” within the meaning of the Illinois Human

Rights Act.



                                             16
      1:14-cv-01433-MMM-JEH # 61         Page 17 of 19



      57.    Throughout Plaintiff Mehrzad’s employment with Defendant Tazewell

County Sheriff’s Office, Mehrzad was an “employee” within the meaning of the Illinois

Human Rights Act.

      58.    Plaintiff has performed all conditions precedent to filing this case under

the Illinois Human Rights Act.

      59.    Defendant Tazewell County Sheriff’s Office through its employees,

including Defendant Ulrich, violated the statue as set forth in paragraph 31, by refusing

to accommodate Plaintiff Mehrzad’s pregnancy and not demonstrating that the

accommodation would impose an undue hardship on the ordinary operation of the

business of the employer.

      60.    As a result of Defendants’ unlawful conduct, Plaintiff has suffered

emotional distress, as well as lost wages and benefits.

      WHEREFORE, Plaintiff, ASHLEY MEHRZAD, prays for judgment against

Defendant Tazewell County Sheriff’s Office for such other relief as the Court may deem

just or equitable, including but not limited to lost benefits and wages as a result of

Defendant’s unlawful conduct, compensatory damages, punitive damages as allowed

by law, and reasonable attorneys’ fees, costs, and litigation expenses in accordance with

775 ILCS 5/8A‐104(G).




                                            17
     1:14-cv-01433-MMM-JEH # 61     Page 18 of 19



                                    Respectfully Submitted,

                                    MICHELLE MORETTO, AMBER
                                    ROBERTSON, ASHLEY M MEHRZAD,
                                    DAWN K. HOSTETLER, MARISSA HUTTON,
                                    LARRY VICARY, REBECCA MELLOY,
                                    RHONDA RANDOLPH, RICHARD
                                    JOHNSTON, STEVE VANDUSEN, CHARLES
                                    TYSON MAY, ALEISHA KARRICK, TRENT
                                    STRUNK,

                                    s/ Heidi Karr Sleper

                                    Plaintiffs’ Attorney

                                    Electronically filed on March 8, 2017

Dana L. Kurtz, Esq. (6256245)
Heidi Karr Sleper, Esq. (6287421)
KURTZ LAW OFFICES, LTD.
32 Blaine Street
Hinsdale, IL 60521
Phone: 630‐323‐9444
Facsimile: 630‐604‐9444
E‐mail: dkurtz@kurtzlaw.us
E‐mail: hsleper@kurtzlaw.us




                                      18
      1:14-cv-01433-MMM-JEH # 61     Page 19 of 19



                          CERTIFICATE OF SERVICE

      The undersigned, an attorney, hereby certifies and states that the attached
documents were served on the designated attorneys by electronic service via the
Court’s ECF System on March 8, 2017.



Peter R. Jennetten      pjennetten@quinnjohnston.com




                                     s/Heidi Karr Sleper
                                     Electronically filed March 8, 2017




                                       19
